                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )        NO. 3:14-00025
                                             )        JUDGE CAMPBELL
DELA MERCADO-CRUZ                            )


                                             ORDER


         Pending before the Court is Defendant’s Motion for Extension of Time to Submit Plea

Agreement (Docket No. 67). In light of the Order (Docket No. 64) entered August 28, 2014,

continuing the trial date to March 17, 2015, at 9:00 a.m. and the pretrial conference and/or

change of plea hearing to March 2, 2015 at 2:00 p.m., the Motion is DENIED as moot.

         IT IS SO ORDERED.



                                                      __________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




     Case 3:14-cr-00025     Document 68          Filed 09/09/14   Page 1 of 1 PageID #: 138
